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                                                                     20"rL37 non/u^/\rY\
                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


 UNITED STATES OF AI\{ERICA,

                    Plaintitr,

       v.

 (1) coDY WAYNE TTMMERJ\{AN,
   also known as "Ben Davis,"
 (2) rRr\4A BEATRTCE TTMMERLAN,                  INDICTMENT
   also known as "Grace,"
 (3) STARRA IRIS DAWN GAT,LEGOS,                 18 U.S.C. S 134e
   also known as "Holly''and "Sarah,"            18 U.S.C. $ r.343
 (4) JUSTIN DONALD SUIIA.IDA,                    18 U.S.C. S 2326
 (5) TODD ALLEN HUGHES,
   also known as "EriC' and "Justin,"
 (6)
 (7)
 (8)
 (9)
   also known as

                    Defendants.

      TTIE UMTED STATES GRAND JIJRY CIIARGES:

                                   O\TERVIEVY

      1.    Over the past decade, the defendants devised and carried out a scheme

through which Canadian telemarketing companies defrauded more than 20,000

victim+-many of whom were elderly and vulnerable-across the United States. The

scheme targeted people who had previously fallen victim to a fraudulent magadrne

sales scam and been tricked into signing up for multiple expensive magazine

subscriptions they did not want and could not afford. The defendants took advantage

of the victims'desperation to make the magazine subscriptions stop. They called the

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victims pretending to be from the "magazine cancellation department." The
defendants offered to pay off the victims' "outstanding balance" and cancel their

existing magazine subscriptions in exchange for a large, lump-sum payment. None of

this was true. In reality, the victims did not owe the defendants or their companies

anJr money.   And the defendants had no power or ability to cancel the victims' existing

magaane subscriptions or any outstandi.g balance owed to any other magazine

companies. The offer was fraudulent and the defendants stole the money paid by their

victims. In all, the defendants defrauded their victims out of approximately $30

million.

                                       couNT     1
                          (Conspiracy to Commit Wire Fraud)

       2.      At times relevant to this Indictment:

               a.    Preferred Customer Corporation ('PCC,), formerly kttown as

Family Readers Center, was a Canadian semFa.n/ purportedly in the business of

selling magazine subscription packages to customers throughout the United States.

PCC is located in Toronto, Ontario.

              b.     Defendant                  is a Canadian citizen and the owner of

PCC.

               c.    Defendant                           is a Canadian citizen and the

ma.nager of PCC.

               d.    Defendants CODY TIMMERI\{AN and IRIVIA TIMMERI\{AN

owned and operated Middle Man Marketing LLC and Nationwide Readers CIub,

Arizona-based companies purportedly          in the    business   of selling magazine
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subscription packages to customers throughout the United States. CODY and IRIVIA

TIMMERI\{AN operated a telemarketing call center from their home in Maricopa,

Arizona.

              e.   Defendant SIARRA GALLEGOS worked as a telemarketer for

Middle Man Marketing LLC from her home in Hemet, California.

              t.   Defendant JUSTIN SUHA;IDA owned and operated The

Magazine Deal Inc., a California-based company purportedly      in the business of
sslling magazine subscription packages to customers throughout the United States.

SLIIAJDA operated a telemarketing call center from his home in San Jacinto,

California.

              g.   Defendant TODD HUGHES worked as a telemarketer for The

Magazine Deal Inc. from his home in Holstein, Iowa.

              h.   Defendants CODY and IRI\4A TIMMERI\{AN, GALLEGOS,

SUI{AIDA, and HUGIIES made fraudulent telemarketing calls on behalf of PCC.

              i.   Services des Lectuers Inc., also known as Readers Services Inc.

('Readers Services"), was a Canadian company purportedly in the business of selling

magazine subscription packages to customers throughout the United States. Readers

Services is located in Montreal, Quebec.

              j.   Services NPR fnc., also known as NP Readers Service Inc. ('NP

Readers"), was a Canadian company purportedly in the business of selling magazine

subscription packageg to customers throughout the United States. NP Readers is

located in Montreal, Quebec.



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             k.     Defendant                        and defendant

are Canadian citizens who owned and operated Readers Services and NP Readers.

             t.     Defendants                 L and                outsourced    some

telemarketing calls on behalf of Readers Services and NP Reader to a call center in

the Philippines (the "Philippines Call Center").

       3.    From at least in or about 2011 through in or about 2020, in the State

and District of Minnesota, and elsewhere, the defendants,

                           CODY WAYI{E TIMMERI\IAN,
                             also known as "Ben Davis,"
                         IRI\4A BEATRICE TIMMERIV[AN,
                                also known as "Grace,"
                         SIARRA IRIS DAWN GA],LEGOS,
                         also known as "Hol$'and "Sarah,"
                           JUSTIN DONALD SUIIA.IDA,
                              TODD ALLEN HUGHES,
                         also known as "EriC'and "Justin,"




                      also known as

did knowingly conspire with each other, end others known and unknown to the grand

jury, to devise a scheme and artifice to defraud and to obtain money by materially

false and fraudulent pretenses, representations, and promises, in connection with the

conduct of telemarketing that victimized ten or more persons over the age of 65, and

for the purpose of executing such scheme and artifice, caused the senditrg, delivering,

and receipt of various matters and things by United States Postal Senrice and private

and commercial interstate carrier, in violation of    fitle   L8, United States Code,

Sections L34L, 1349, and, 2326.
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                     Overview and Purpose of the Conspiracy

      4.        The purpose of the conspiracy was to defraud consumers who had

previously been tricked by other fraudulent magazine companies into signing up for

multiple expensive magazine subscription packages they did not want.              The

companies called victim-consumers around the country and fraudulently offered to

cancel their existing subscriptions and pay off any outstanding balance for one or

more large, lump-sum payments. In reality, the victim-consumers did not owe the

defendants    or their   companies any money and   the defendants had no power or

authority to stop or cancel the victim-consumers' ongoing subscriptions. The offer was

fraudulent and any money paid by the victim-consumers was simply stolen by the

defendants.

                             Defendants and Their Roles

      5.        Company Owners: Defendants                               ,
                                     and                    (the "Company Owners")

owned and operated Canadian-based companies that carried out this telemarketing

scheme. T'he Company Owners provided lead lists and fraudulent sales scripts to

their telemarketing employees for use in carrying out the fraud scheme. The
Qempan/ Owners maintained credit card merchant accounts through which they

billed the victim-consumers.

      6.        Telemarketing Managers: Defendants CODY TIMMERJVIAN and

JUSTIN SUIIAJDA (the "Telemarketing Managers") managed telemarketers
involved   in   fraudulent magazine sales. The Telemarketing Managers trained


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telemarketers   to use fraudulent sales scripts to defraud   victim-consumers and

supervised the telemarketers on a day-to-day basis.

      7.      Telemarketers: Defendants IRMA TIMMERI{AN, SIARRA
GALLEGOS, and TODD HUGIIES (the "Telemarketers-') were telemarketers who

made fraudulerit sales calls to victim-consumers across the United States.

                     Manner and Means of the Conspiracy

      8.      The defendants devised and participated in a fraud scheme that took

advantage of victim-consumers who had been previously defrauded by multiple

magazine companies. The victim-consumers had been "sold' magazine subscriptions

they did not want and did not knowingly sign up for. The victim-consumers were

being billed by multiple other maganne sales companiee-as many as a dozen

magazine compsnies at a time. Many of these victim-consumers were elderly and

otherwise vulnerable. They were desperate to cancel their magazines.

      9.      The defendants called the        victim-consumers   and fraudulently
represented   that they were salling with an offer to cancel unwanted        magazine

subscriptions end. pay off any outstaading balance in exchange for a large, one-time

payment. In reality, the victim-consumers did not owe the Company Owners or their

companies any money and the companies had no power or authority to stop or cancel

the victim-consumers' ongoing subscriptions.

      10. It was part of the scheme that the Company Owners purchased           sales

lead lists of consumers with existing magazine subscriptions through other

companies. Many of the people on these lead lists had been previously victimized by

other fraudulent magazine companies.
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      11.    Defendants           F and                   had   Telemarketers and

Telemarketing Managers working from several locations         in the United   States,

including defendants CODY and IRIVIA TIMMERJ\{AN             in Arizona,   defendants

GALLEGOS and SIJIIAJDA in California, and defendant HUGHES in Iowa.

      t2.    Defendants                 and           outsourced their telemarketing

calls to the Philippines Call Center.

      13.    At the direction of defendants                                      and

          defendants CODY and IRJVIA TIMMERI\{AN, GALLEGOS, SUIIAJDA,

HUGIIES, and others called the victim-consumers on lead lists using fraudulent sales

scripts. The scripts directed the Telemarketers to falsely claim that the victim-

consnmers owed a large outstanding balance for existingmagazine subscriptions vrith

their company. The scripts then directed the Telemarketers to fraudulently offer to

pay offthat balance in exchange for a lump-sum payment.

       L4.   Defendants CODY and IRIMA TIMMERI\4AN, GALLEGOS, SUIIAJDA,

and HUGHES fraudulently offered to pay offthis frctitious balance in exchange for a

single payment of $599.90 or two payments of $249.95 to PCC. Telemarketers at

defendants                and                 philippines Call Center and elsewhere

fraudulently offered to pay off the victim-consumer s fictitious balance in exchange

for a lump-sum payment of $196.87 or $199.50 to Readers Services or NP Readers.In

realiff, the victim-consumers did not have any existing subscriptions with the
companies, did not owe the companies any outstanding balance, and the companies

did not have the ability to cancel the victim-consuners' ongoing magaz.ine
subscriptions. Defendants CODY          and IRIVIA TIMMERI\{AN, GALLEGOS,
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SUIIAJDA, HUGHES, and others did not call the victim-consumers to help them pay

offan existing balance at a reduced price. They called to defraud them. When victim-

consumers paid the money, their subscriptions were not cancelled and any balance

they owed to other magazine sales companies remained. The money collected by the

defendants was simply stolen.

          15.   During some of these calls, the Telemarketers offered sympathy to the

victim-consumers and purported to be helping them put a stop to the fraudulent

magazite subscriptions that had been plaguing them for years. During other calls,

they became aggxessive and threatened legal action or other consequences             if the
victim-consumer did not agree to make the payment. In either case, the script preyed

upon the desperation and fear of the elderly and other vulnerable victims who had

been caught up in the cycle of fraud.

          16.   It was further part of the scheme that the defendants knowingly caused

to be transmitted by means of a wire communication in interstate commerce, certain

writings, signs, signnls, and sounds, including phone calls to victims in Minnesota.

          L7.   During the course of their scheme, the co-conspirators defrauded more

than 20,000 victims across the United States. In all, they received nearly $30 million

from the victims of their scheme.

      All in violation of fitle   18, United States Code, Sections 1349 and 2326.

                                       Counts 2-14
                                       (Wire Fraud)

      18.       The allegations in paragraphs    l   through 17 of Count I are incorporated

herein.


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       19.   From at least in or about zOLl through in or about 2020, in the State

and District of Minnesota, and elsewhere, the defendants,

                            CODY WAYNE TIMMERI\{AN,
                              also known as "Ben Davis,"
                          IRI\{A BEATRI CE TIMMERI\{AN,
                                 also known as "Grace,"
                          SIARRA IRIS DAWN GALLEGOS,
                          also known as "Holly''and "Sarah,"
                            JUSTIN DONALD SUIIAJDA,
                               TODD ALLEN HUGIIES,
                          also known as "EriC'and "Justin,"




                      also known as

and otherg ktrown and unknown to the grand jury, and in connection with the conduct

of telemarketing that victimized ten or more persons over the age of 55, did knowingly

devise and participate   in a scheme and artifice to defraud and to obtain money by

meens of materially false and fraudulent pretenses, representations, and promises,

and by concealment of material facts.

       20. On or about the dates listed below, in the State and District of
Minnesota and elsewhere, the defendants, as set forth below, for the purpose of

executing the scheme described above, knowingly caused to be transmitted by means

of a wire communication in interstate commerce, certain writings, signs, signals, and

sounds, including the following:

 Count         Defend4nts              Date                 TVire Details
                                      (on or
                                      about)
   2                               August 22,   A phone call from an employee of
                                   2016         PCC to Victim Sharon G. in
                                                Minnesota
                                          I
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  3                             December     A phone call from        CODY
                                19,2016      TIMMERI\{AN inArizona to Victim
        CODY TIMMERI\,IAN,                   Sharon G. in Minnesota
             TIMMERT{AN
       IRJ\,IA
  4    SUIIA.IDA,               March 26,    A phone call from HUGIIES         in
       HUGHES,                  2018         Iowa to Victim Caroline W.        in
                                             Minnesota

  5                             July   16,   An email with the subject       line
                                2019         "Files Available!!!" from a lead
                                             broker in Georgia to several
                                           magazine telemarketing company
                                           owners, including                and
                                           Tim Hanssen in Minnesota
  6    CODY TIMMERI\,IAN,       August 13, A phone call from GALLEGOS in
       IRJ\{A TIMMERI\4AN,      2019       California celling on behaU of PCC
       GALLEGOS,                           to an undercover Postal Inspection
                                           Service employee in Minnesota
                                           posing as "Gloria Gore"
  7    CODY TIMMERI\,IAN,       August 13, A phone call from GALLEGOS in
       IRT\{A TIMMERI\4AN,      2019       California calling on behalf of PCC
       GALLEGOS,                           to an undercover Postal Inspector
                                           in Minnesota posing as "Ruth
                                           McDermott'
  8    CODY TIMMERJVIAN,        August 14, A phone call from GALLEGOS in
       IRI\{A TIMMERI\{AN,      2019       California calling on behalf of PCC
       GALLEGOS,                           to an undercover Postal Inspector
                                             in   Minnesota posing    as   "Rose
                                             Cubur"
  I                             August 26,   A phone call from Individual MG in
                                2019         Canada salli ng on behalf of Readers
                                             Services to an undercover Postal
                                             Inspection Service smFloyee in
                                             Minnesota posing as "Gloria Gore"
 10    CODY TIMMERI\{AN,        November     A phone call from          CODI
       IRI\{A TIMMERI\{AN,      7,2019       TIMMERJ\{AN in Arizona calling
       GAJ,LEGOS,                            on behalf of PCC to an undercover
                                             Postal Inspector Service employee
                                             in Minnesota posing as "Gloria
                                             Gore"
 11    CODY TIMMERI\{AN,        December     A phone call from GALLEGOS in
       IRJVIA    TIMMERI\{AN,   19,2019      California calling on behalf of PCC
       GALLEGOS,                             to an undercover FBI agent in

                                       10
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                                                       Minnesota posing        as   "Richard
                                                       Mameson-'
    L2      SUHAJDA,                    December       A phone call from HUGHES           in
            HUGI{ES,                     L2,2019       Iowa to Victim FT, in Minnesota


   13                                   January        A phone call from "Hazet' salling
                                        10,2020        from Canada on behalf of NP
                                                       Readers Senrice to an undercover
                                                       FBI agent in Minnesota posing as
                                                       "Herurr Goodwin"
   L4                                   May 14,        A phone call from "Kate" calling on
                                         2020          behalf of NP Readers to an
                                                       undercover Postal Inspector in
                                                       Minnesota posing as "Scott
                                                       McCreadv"

         All in violation of fitle 18, United States Code, Sections 1343 and 2326.

                              FORFEITURB ALLEGATIONS

         21.   Counts   1   through L4 of this Indictment are incorporated by reference for

the purpose of allegrng forfeiture pursuant to        fitle 18, United   States Code, Section

981(a)(1XC)    in conjunction with fitle 28, United States Code, Section 2461(c), and
fitle   18, United States Code, Section 982(a)(8).

         22. If convicted of any of Counts 1 through t4 of this Indictment, the
defendants shall forfeit to the United States, pursuant to         fitle    18, United States

Code, Section 981(aXlXC) and          fitle   28, United States Code, Section 246L(c), any

property, real or personal, which constitutes or is derived from proceeds traceable to

Counts 1 through 14 of the Indictment.

         23. If convicted of any of Counts t          through 14   of,   this Indictment, the
defendants ghall also forfeit to the United States, pursuant to     fitle   18, United States

Code, Section 982(a)(8), any real or personal property used or intended to be used to


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commit, facilitate, or promote the commission of the wire fraud scheme alleged in

Counts   I through 14 of the Indictment.
      24.     The property subject to forfeiture includes, but is not limited to:

              a. $1,503.95 seized from in Bank of America, account No. 9250 4444
                 6790, in the name of Cody W. fimmerman and Irma B. Timmerman;

             b. $1,794.82 seized from Bank ofAmerica, account No. 1641 0769 6127,
                in the name of The Magazine Deal Inc.;

                   fiL2,793.29 seized from Bank of America, account No. 3250 4834
                   1286, in the name of Middle Man Marketing LLC;

              d.   $172,075.58 seized from Merrick Bank, merchant account No.
                   8788270143888, in the name of Preferred Customer Corp.

             e.    $192,328.68 seized from Bank of America account No. 4880 4Ot7
                   2756, in the name of Preferred Customer Corporation;

                   The real property located at 40887 W. Chambers Dr., Maricopa
                   Arizona; and

             g.    The real property located at 90 County Road 38, Norfolk, New York.

      25.    If any of the above-described property is unavailable for forfeiture, the
United States intends to seek the forfeiture of substitute property as provided for in

Title 21, United States Code, Section 853(p), as incorporated by fitle 28, United

States Code, Section 246t(c) and Title 18, United States Code, Section 982(b).


                                     A TRUE BILL




UNITED STATES ATTORNEY                          FOREPERSON




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